Case 5:13-cv-02110-DEW-KLH Document 1-1 Filed 06/24/13 Page 1 of 7 PageID #: 7
                                                                            Service of Process
                                                                            Transmittal
                                                                            06/10/2013
                                                                            CT Log Number 522887314
   TO:     Michael Wallace, Corporate Paralegal
           Cornerstone Healthcare Group
           2200 Ross Avenue, Suite 5400
           Dallas, TX 75201

   RE:     Process Served in Louisiana
   FOR:    Cornerstone Hospital of Bossier City, LLC (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                  Ossie Scott Rhodes and Eugene Emmanuel Wallace, Individually and on Behalf of
                                     Their Mother, Fannie Scott, Deceased, Petitioners vs. Cornerstone Hospital of
                                     Bossier City, LLC, Dft.
   DOCUMENT(S) SERVED:               Citation, Petition
   COURT/AGENCY:                     26th Judicial District Court, Parish of Bossier, LA
                                     Case # C141896
   NATURE OF ACTION:                 Medical Injury - Improper Care and Treatment - Wrongful Death - 05/04/2012 -
                                     Cornerstone Hospital of Bossier City, LLC - Defendant is negligent in failing to timely
                                     and permanently stop Meropenum
   ON WHOM PROCESS WAS SERVED:       C T Corporation System, Baton Rouge, LA
   DATE AND HOUR OF SERVICE:         By Process Server on 06/10/2013 at 09:45
   JURISDICTION SERVED :             Louisiana
   APPEARANCE OR ANSWER DUE:         Within 15 days after service
   ATTORNEY(S) / SENDER(S):          Richard L. Fewell, Jr.
                                     P.O. Box 1437
                                     West Monroe, LA 71291
                                     318-388-3320
   ACTION ITEMS:                     SOP Papers with Transmittal, via Fed Ex 2 Day , 799970623047
                                     Image SOP
                                     Email Notification, Michael Wallace mwallace@chghospitals.com
   SIGNED:                           C T Corporation System
   PER:                              Trevor Garoutte
   ADDRESS:                          5615 Corporate Blvd
                                     Suite 400B
                                     Baton Rouge, LA 70808
   TELEPHONE:                        225-922-4490




                                                                                                EXHIBIT 1

                                                                            Page 1 of 1 / RB
                                                                            Information displayed on this transmittal is for CT Corporation's
                                                                            record keeping purposes only and is provided to the recipient for
                                                                            quick reference. This information does not constitute a legal
                                                                            opinion as to the nature of action, the amount of damages, the
                                                                            answer date, or any information contained in the documents
                                                                            themselves. Recipient is responsible for interpreting said
                                                                            documents and for taking appropriate action. Signatures on
                                                                            certified mail receipts confirm receipt of package only, not
                                                                            contents.
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                                                                                                     D2240158 A TRUE COPY
                                                       CITATION
             OSSIE SCOTT RHODES ET AL                             TWENTY-SIXTH JUDICIAL DISTRICT

             VS                                                   PARISH OF BOSSIER

             CORNERSTONE HOSPITAL OF BOSSIER                      STATE OF LOUISIANA
             CITY LLC
             DOCKET NUMBER: C-I41896


TO: CORNERSTONE HOSPITAL OF BOSSIER CITY LLC
      C/O REGISTERED AGENT, CT CORPORATION SYSTEM
      5615 CORPORATE BLVD., SUITE 400B
      BATON ROUGE, LA 70808



                                         in the Parish of EAST BATON ROUGE.


      You are hereby cited to comply with the demand contained in the petition, a certified copy of which accompanies
this citation, or to file your answer or other pleading to said petition in the office of the Clerk of the 26th Judicial District
Court in the Bossier Parish Court House in the Town of Benton in said Parish within fifteen (15) days after the service
hereof. Your failure to comply herewith will subject you to the penalty of entry of default judgment against you.


     The Sheriff or his deputy has just handed you a law suit which states why you are being sued. You ( as defendant )
will have fifteen (15) days after you receive this petition to either file an answer ( in writing ) with the Bossier Parish
Clerk of Court in Benton, Louisiana, or retain an attorney of your choice to act in your behalf. If you do nothing within
the said time period, then a judgment could be rendered against you.


Attached hereto are:
PETITION FOR DAMAGES

Witness the Honorable Judges of our said Court on this the 3RD DAY OF JUNE, 2013

                                                                         CYNTHIA J. JOHNSTON, CLERK OF COURT

                                                                                                 JULIE S. SMITH

                                                                                                                 Deputy Clerk
                                                                                                     Bossier Parish, Louisiana
Attorney:
RICHARD L. FE WELL, JR.
P.O. BOX 1437     •
WEST MONROE, LA 71291
318-388-3320



A TRUE COPY ATTEST



DEPUTY CLER
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                STATE OF LOUISIANA * PARISH, OF-2130S§IE',,C,\
                                                  - , • •
                         26TH JUDICIAL DISTRICT COURT „                      p 02
                                                  1%11

 OSSIE SCOTT RHODES                              FILED: (•_.
 AND EUGENE EMMANUEL                                                     -
 WALLACE, INDIVIDUALLY AND
 ON BEHALF OF THEIR MOTHER,                                 141896
 FANNIE SCOTT (DECEASED)

 VERSUS NO.

 CORNERSTONE HOSPITAL OF
 BOSSIER CITY, LLC                               DEPUTY CLERK OF COURT


                             PETITION FOR DAMAGES

       NOW INTO COURT, through undersigned counsel, comes and appears

 OSSIE SCOTT RHODES AND EUGENE EMMANUEL WALLACE, major

 domiciliaries of Minden, Webster Parish, Louisiana, INDIVIDUALLY AND ON

 BEHALF OF THEIR MOTHER, FANNIE SCOTT, who who would bring this action,

 based upon the following, to wit:

                                            1.

       Made defendant herein is:

       (a)    CORNERSTONE HOSPITAL OF BOSSIER CITY, LLC,
              who upon information and belief, is a long time acute care
              hospital authorized to receive patients for medical treatment
              in Bossier City, Benton Parish, Louisiana, including its staff,
              physicians, nurses, and all other employees, who at all times
              material herein were in the course of such conduct.

                                            2.

       Fannie Scott (DOB: 2/19/1925) was the mother of petitioners, Ossie Scott Rhodes

 and Eugene Emmanuel Wallace.

                                            3.

       Petitioners show that their mother had a history of diabetes mellitus among other

 health issues, and was hospitalized at Minden Medical Center for treatment.

                                            4.

       From Minden Medical Center, Fannie Scott was transferred to Cornerstone

 Hospital of Bossier City on May 4, 2012, for long term acute therapy.
                                                               ENDORSED FILEDMU./            2   2013
                                                                              JUUE S.SMTtH
                                                                              DEPUTY c.LERK
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                                                                             DEP
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                                             5.

         Ms. Scott was admitted to Cornerstone under the care of Dr. Matthew C. Frank for

 wound care regarding her multiple decibitus to her right foot, right inner foot and left

 calf.

                                             6.

         Fannie Scott, was placed on IV Vancomycin and Meropenem as part of her

 therapy.

                                             7.

         Ms. Scott began having problems with itching and a rash all over her body.

                                             8.

         Petitioners requested that Dr. Frank take their mother off Meropenem, but he

 refused to do so.

                                             9.

         While Dr. Frank was out of the hospital on vacation, Drs. Jackson, Balogh and

 delMundo took over the care of Ms. Scott.

                                             10.

         On May 26, 2012, Dr. delMundo noted that the body rash was worse in the upper

 torso area, morbilliform in nature, erthematous, pruitic. He also notes "probably drug

 reaction" and agreed to withholding the Meropenum.

                                             11.

         Dr. delMundo noted on May 27, 2012, that the morbilliform rash apparently was

 receding. He planned to continue antibiotic therapy/wound care and notes "drug

 eruption."

                                             12.

         On May 28, 2012, Ms. Scott was again having rashes and itching. Dr. delMundo

 noted in the records that he suspects this is drug eruption and "will discontinue all

 antibiotics at this time because this is the only thing that is new added to her list of

 medications ... probably reformulate treatment in the next couple of days."
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                                               13.

        When Ms. Scott's family returned from an out of town trip on or about May 29,

 2012, they found that she had been placed back on Meropenum.

                                               14.

        Ms. Scott continued to be treated by Drs. Jackson, Balogh and delMundo at

 Cornerstone with her itching and rash getting worse after being placed back on

 Meropenum.

                                               15.

        The family of Fannie Scott noted that she was beginning to lose her memory, not

 functioning properly and gaining a tremendous amount of weight within a period of a few

 days but her treating physicians at Cornerstone refused to take her off the medication.

                                               16.

        Because of Ms. Scott's worsening problems, including swelling, edema and an

 elevation of bilirubin, Dr. Jackson transferred Fannie Scott to Willis Knighton Medical

 Center for acute care on June 6, 2012.

                                               17.

        Despite treatment at 'Willis Knighton, Fannie Scott was not able to overcome her

 allergic reaction and lost her life on June 22, 2012.

                                               18.

        Defendants were negligent in failing to permanently discontinue the Meropenem

 and appropriately treat the patient so as to prevent her death.

                                               19.

        Petitioners further show that Ms. Scott's care could have been medically managed

 by defendant and ended with a different outcome.

                                               20.

        Petitioners aver that the defendant, Cornerstone Hospital of Bossier City, LLC,

 was negligent in the care delivered and the care which should have been delivered unto

 Fannie Scott, including but not limited to:

       (a)     In failing to timely and permanently stop Meropenum;
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        (b)    In minimizing symptoms of allergic reaction;

        (c)     In ignoring signs and symptoms of patient;

        (d)     Failure to provide appropriate care/management of the patient;

        (e)     In failing to recognize, react to, and take timely and appropriate measures

                to prevent the death of Fannie Scott;

        (f)     In failing to comply with the appropriate standard of care;

        (g)     In deviating from the acceptable standard of care; and

        (h)     In failing to provide medical care consistent with the appropriate standards.

                                              21.

        The above listed acts of negligence by the defendant has led to the damages

 suffered by the petitioners, Ossie Scott Rhodes and Eugene Emmanuel Wallace, and they

 aver that they are entitled to general and special damages for pain and suffering, mental

 anguish, and medical expenses prior to the death of their mother, Fannie Scott, as well as

 for wrongful death, survival damages, funeral expenses, and any and all other damages

 reasonable under the circumstances.

                                              22.

        Further petitioners, as the children of Fannie Scott, have claims herein for loss of

 consortium regarding their mother.

                                              23.

        Defendant deviated from the appropriate standard of care in this matter, and

 caused the damages suffered by the petitioners for which they should be held responsible.

                                              24.

        Petitioners further avers that they, individually and on behalf of their deceased

 mother, Fannie Scott, are entitled to an award in an amount to be determined by this

 Honorable Court at the time of trial to be reasonable in the premises, plus legal interest

 and all costs of this matter.

                                             25.

        Petitioners shows that a medical malpractice complaint was made to the

 Commissioner of Administration (Patient's Compensation Fund) for the State of
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 Louisiana, against Matthew C. Frank, M.D., James Jackson, M.D., Attila Balogh, M.D.,

 Venerando delMundo, M.D., and Cornerstone Hospital of Bossier City, LLC, but was

 informed on May 15, 2013, by the Patient's Compensation Fund that defendant,

 Cornerstone Hospital of Bossier City, LLC, was not qualified under La. R.S. 40:1299.41,

 at the time of the alleged incident.

        WHEREFORE, PETITIONERS, OSSIE SCOTT RHODES AND EUGENE

 EMMANUEL WALLACE,INDIVIDUALLY AND ON BEHALF OF THEIR

 MOTHER, FANNIE SCOTT (DECEASED),                               PRAY      that defendant,

 CORNERSTONE HOSPITAL OF BOSSIER CITY, LLC, be served with a copy of

 this Petition and be cited to answer same and that after all due proceedings are had, there

 be judgment herein in favor of petitioners, individually and on behalf of Fannie Scott,

 deceased, and against defendant for all general and special damages sustained by them,

 plus legal interest from the date of judicial demand until paid, for all costs of these

 proceedings, and for any further relief as equity and the cause may require.

        PETITIONERS FURTHER PRAY for all other just and equitable relief to

 which they may be entitled in the premises.

                                           Respectfully submitted,

                                          1315 Cypress Street
                                          P. 0. Box 1437
                                          West Monroe, LA 71291
                                          Telephone: (318) 388-3320
                                          Facsimile: (318) 388-3337


                                          Richard L. Fewell, Jr.
                                          La. Bar No. 18891
                                          Attorney for petitioners,
                                          Ossie Scott Rhodes and
                                          Eugene Emmanuel Wallace,
                                          individually and on behalf of
                                          their mother, Fannie Scott
                                          (Deceased)

 PLEASE SERVE:

 Cornerstone Hospital of Bossier City, LLC
 do registered agent,
 CT Corporation System
 5615 Corporate Blvd., Suite 400B
 Baton Rouge, LA 70808
